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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                     MEMPHIS DIVISION

 THELMA FLEMMING

        Plaintiff,                                  CASE NO.:
  -v-

 CAPITAL ONE BANK (USA), N.A.

        Defendant.
                                         /

                      COMPLAINT AND DEMAND FOR JURY TRIAL

           COMES NOW, Plaintiff, Thelma Flemming, by and through the undersigned

 counsel, and sues Defendant, CAPITAL ONE BANK (USA), N.A., and in support thereof

 respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227

 et seq. (“TCPA”).

                                       INTRODUCTION

            1.       The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and to prevent abusive “robo-calls.”

            2.       “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

 (2012).

            3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably



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 intended to give telephone subscribers another option: telling the auto-dialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 1256 (11th Cir. 2014).

        4.       According    to   the   Federal   Communications     Commission      (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC.               There are

 thousands of complaints to the FCC every month on both telemarketing and robo-calls.

 The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

 Proposal to Protect and Empower Consumers Against Unwanted Robo-calls, Texts to

 Wireless     Phones,   Federal    Communications      Commission,     (May     27,    2015),

 https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                              JURISDICTION AND VENUE


         5.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

         6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

        7.       The alleged violations described herein occurred in Shelby County,

 Tennessee. Accordingly, venue is appropriate with this Court under 28 U.S.C.




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 §1391(b)(2), as it is the judicial district in which a substantial part of the events or

 omissions giving rise to this action occurred.

                               FACTUAL ALLEGATIONS

        8.      Plaintiff is a natural person, and citizen of the State of Tennessee, residing

 in Shelby County, Tennessee.

        9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

        10.     Defendant is a corporation and National Association with its principal

 place of business located at 8000 Tower Crescent Drive, 16th Floor, Tysons Corner,

 Virginia and which conducts business in the State of Florida.

        11.     Defendant called Plaintiff approximately one hundred (100) times in an

 attempt to collect an alleged debt.

        12.     Upon information and belief, some or all of the calls Defendant made to

 Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using

 a random or sequential number generator (including but not limited to a predictive dialer)

 or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that her knew it was an

 auto-dialer because of the vast number of calls she received and because she heard a

 pause when she answered her phone before a voice came on the line.




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          13.   Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (901) ***-3831, and was the called party and recipient of Defendant’s calls.

          14.   Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

 the calls were being initiated from, but not limited to, the following telephone number

 (800) 955-6600.

          15.   On several occasions over the last four (4) years, Plaintiff instructed

 Defendant’s agent(s) to stop calling her cellular telephone.

          16.   In or about September 2018, Plaintiff answered a call from Defendant to

 her aforementioned cellular telephone number. Plaintiff spoke to an agent/representative

 of Defendant and informed the agent/representative that the calls to her cellular telephone

 were harassing and Plaintiff demanded that the calls to her cellular telephone would

 cease.

          17.   During the aforementioned phone conversation in or about September of

 2018 with Defendant’s agent/representative, Plaintiff unequivocally revoked any express

 consent Defendant may have had for placement of telephone calls to Plaintiff’s

 aforementioned cellular telephone number by the use of an automatic telephone dialing

 system.

          18.   In or about October 2018, Plaintiff answered a call from Defendant to her

 aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

 Defendant and informed the agent/representative that the calls to her cellular telephone

 should cease and she will send all payments when she could.




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        19.     Each subsequent call Defendant made to Plaintiff’s aforementioned

 cellular telephone number was done so without the “express consent” of Plaintiff.

        20.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

 cellular telephone number was knowing and willful.

        21.     Despite clearly and unequivocally revoking any consent Defendant may

 have believed they had to call Plaintiff oh her cellular telephone, Defendant continues to

 place automated calls to Plaintiff.

        22.     Plaintiff’s         numerous       conversations    with       Defendant’s

 agent/representative(s) over the telephone wherein he demanded a cessation of calls were

 in vain as Defendant continues to bombard him with automated calls unabated.

        23.     Due to the tremendous volume of calls Plaintiff received over a lengthy

 period of time, she was not able to properly catalogue each and every call, however

 attached hereto as (Exhibit A) is a small sampling of some of the automated calls

 plaintiff received to her cellular telephone from Defendant.

        24.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

 cellular telephone in this case.

        25.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

 telephone in this case, with no way for the consumer, or Defendant to remove the

 number.




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         26.    Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant they do not

 wish to be called.

         27.    Defendant has numerous other federal lawsuits pending against them

 alleging similar violations as stated in this Complaint.

         28.    Defendant has numerous complaints against it across the country asserting

 that its automatic telephone dialing system continues to call despite being requested to

 stop.

         29.    Defendant has had numerous complaints against it from consumers across

 the country asking to not be called, however Defendant continues to call these

 individuals.

         30.    Defendant’s corporate policy provided no means for Plaintiff to have

 Plaintiff’s number removed from Defendant call list.

         31.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.

         32.    Not one of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         33.    Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         34.    From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

 intrusion upon her right of seclusion.



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        35.     From each and every call without express consent placed by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

 telephone line and cellular phone by unwelcome calls, making the phone unavailable for

 legitimate callers or outgoing calls while the phone was ringing from Defendant call.

        36.     From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

 her time. For calls she answered, the time she spent on the call was unnecessary as she

 repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

 time to unlock the phone and deal with missed call notifications and call logs that reflect

 the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s

 cellular telephone, which are designed to inform the user of important missed

 communications.

        37.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the

 Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

 answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

 phone and deal with missed call notifications and call logs that reflected the unwanted

 calls. This also impaired the usefulness of these features of Plaintiff’s cellular telephone,

 which are designed to inform the user of important missed communications.

        38.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

 Plaintiff’s cellular telephone’s battery power.



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         39.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone where a voice message was left which occupied space in

 Plaintiff’s phone or network.

         40.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

 namely her cellular phone and her cellular phone services.

         41.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety

 and nervousness.

                                          COUNT I
                                   (Violation of the TCPA)

         42.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty

 one (41) as if fully set forth herein.

         43.     Defendant willfully violated the TCPA with respect to Plaintiff,

 specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

 Plaintiff notified Defendant that Plaintiff wished for the calls to stop

         44.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial

 voice without Plaintiff’s prior express consent in violation of federal law, including 47

 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against CAPITAL ONE BANK (USA), N.A. for statutory damages,




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 punitive damages, actual damages, treble damages, enjoinder from further violations of

 these parts and any other such relief the court may deem just and proper.

                                              Respectfully submitted,

                                              /s/ Frank H. Kerney lll
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